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                                                                                                                         ICT COURT
                                                                                                SI PAUL, MINNH$OTA
                            LINITED STATES DISTzuCT COURT
                                DISTRICT OF MINNESOTA
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                                      Plaintiff(s),

vs.                                      I
                                                                       caseNo      2t ,,4       {}r       s4fr/firs
         f te {* o / //1, npooo lv                                     (To be assigned by Clerk of District Court)

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     p"iar{u+.at of /ht//h
                                                                       DEMAND FOR ruRY TRIAL

                                                                               veslV             NoT_l
                                Defendant(s).

(Enter the full name(s) of ALL defendants in
this lawsuit. Please attach additional sheets
if necessarv).


                                                  COMPLAINT

PARTIES

1. List your name, address and telephone              number, Do the same for any additional plaintiffs.

      a.   Plaintiff

           Name            f*evrn //i*" fie/ao,                /,
           StreetAddressAZ+C Hrunlt,l"o *Vv
           county, city N A n.f t y Cl/, 5u,n { /A, /

           State   & zip code    l//V,       51 / t +
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                                                                                                                              PAUL
                                                                                                                    COURT ST'
                                                                                                      U,S. DISTRICT
          CASE 0:21-cv-01825-SRN-DTS Doc. 1 Filed 08/11/21 Page 2 of 5




2.   List all defendants. You should state the full name of the defendant, even if that defendant is
     a govemment agency, an organization, a corporation, or an individual. lnclude the address
     where each defendant may be served. Make sure that the defendant(s) listed below are
     identical to those contained in the above caption.

     a.   Derendant No. t.             C,lf Co, nd I
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          streetAddress
          county,city           /l/J   tnn eopol i t n/['one'd*L
          state&zipcode                //t               f 6+16
                                             'nl'elodo
     b.   DefendantNo.2

                      ,-rnrl tt*a 0e1'*t'f nunt af llealth
                      ,nl
          ^^*"-
          streetAddress b * 6 ft o hvrt 5'{, il

          county, city fl, fa a (, fl cn 6 e y

          state&Zip code fl4 rnwoota 5 5 t b t

     c.   Defendant No.     3


          Name C'
          Street Address

          County, City

          State   & Zip   Code


NOTE: IF THERE ARE ADDITIONAL PLAINTIFFS OR DEFEI\IDAIYTS, PLEASE
PROVIDE THEIR NAMES AND ADDRESSES ON A SEPARATE S T'B1 OF PAPER.
Check here if additional sheets of paper are attached{f
Please label the attached sheets of paper to correspond to the appropriate numbered
paragraph above (e.g. Additional Defendants 2.d.,2.e., etc.)
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ruzuSDICTION

Federal courts are courts of limited jurisdiction. Generally, two types of cases can be heard in
federal court: cases involving a federal question and cases involving diversity of citizenship of
the parties. Under 28 U,S.C. $ 1331, a case involving the United States Constitution or federal
laws or treaties is a federal question case. Under 28 U.S.C. $ 1332, a case in which a citizen of
one state sues a citizen of another state and the amount of damages is more than $75,000 is a
diversity of citizenship case.

3.   What is the basis for federal court jurisdiction? (check all that apply)

          f_lFederal Question              ffiiu"rrity    of Citizenship

4.   If the basis for jurisdiction
                            drctron is           Question, which
                                        Federal Quesfiop,
                                     rs "Federal                         Constitutional, statufory
                                                           whrch Federal Constrtutronal, statu     or
     treatv risht is at issue?        all that apply.
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5. If the basis for jurisdiction is Diversityof Citizenship, what is the state of citizenship of each
     party? Each Plaintiff must be diverse from each Defendant for diversity jurisdiction.
                       '               i- a'   l/
                            "t n lyq lhoilh-stut.                    ti           l
     ptaintiff Name: f,k;ten
                           ftllt                  of citizensh rp: /i4 rntno /a

     Defendant No. t(rty
                         (ounr:'t ltl)uw hr-rrur"of
                                                     citizensh ip' tll r n h e t o Lz

     DefendantNo.2:             t)rprrh***Lo #ilPrAShte             of citizenship:   il,rnr ioll
     Attach additional sheets of paper as necessary and label this information             as   paragraph
     5.
     Check here if additional sheets of paper are attached.            I
6.   What is the basis for venue in the District of Minnesota? (check all that apply)

          ffir"ndant(s)          reside in Minnesota   ffiFacts    alleged below primarily occurred in

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                        exp.,

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STATEMENT OF THE CLAIM

Describe in the space provided below the basic facts of your claim. The description of facts
should include a specific explanation of how, where, and when each of the defendants named in
the caption violated the law. and how vou were hanned. Each oaraeranh must be numbered                      '

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                        /;^ir:*tt'
          CASE 0:21-cv-01825-SRN-DTS Doc. 1 Filed 08/11/21 Page 4 of 5




  separately, beginning with number   7.   Please write each single set of circumstances in a
  separately numbered paragraph.
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   Attach additional sheets of paper as necessary.
   Check here if additionat sheets of paper a.e uttacheOtl
   Please label the attached sheets of paper to as Additional Facts and continue to number the
   paragraphs consecutively.


   REQUEST FOR RELIEF

   State what you want the, Courl to do   for you and t\e amoupt 9f ryonetary cprppensation, if   apY,

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     CASE 0:21-cv-01825-SRN-DTS Doc. 1 Filed 08/11/21 Page 5 of 5




Signed this   _          day   of



                         Signature of Plaintiff

                         MailineAddress     4Z      TO Ha rnp        /vn Ar,,
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                         rerephoneNumber
                                                  4lI- *f F* 7b Vd
Note: All plaintiffs          in the caption of the complaint must date
                       "uot:q                                           and sign the corrplaint and
                  mailing address and telephone numbei. Attach
                                                                 additional ,i** orfup". *
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